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                                       ADDENDUM IN SUPPORT OF SPLC’S MOTION TO DISMISS



                                                       CHALLENGED STATEMENTS IN ARTICLE (a)*
                                                 (Hatewatch Staff, Last month in Europe: May 2018, June 8, 20181)
                                                                    COMPLAINT ¶¶ 229–233
      CHALLENGED STATEMENT                 ALLEGED FALSITY                      FAILURE TO                                    FURTHER EXPLANATION
            (IN BOLD)                                                          STATE A CLAIM
“Gavin McInnes, the founder         “falsely ascribes to [McInnes]     Non-actionable opinion. (See
of the Proud Boys*, which           characteristics of SPLC’s false    SPLC Brief § I.E.1.)
SPLC lists as a hate group”         description of the Proud Boys,
(Compl. ¶ 229)                      when in fact the Proud Boys        Not “of and concerning”
                                    are not a hate group”              McInnes. (See SPLC Brief
                                    (Compl. ¶ 231)                     § I.E.3.)

                                    “in fact the Proud Boys are
                                    not white supremacist, neo-
                                    Nazi, anti-LGBT, anti-
                                    immigrant or anti-Muslim.”
                                    (Compl. ¶ 232)

                                    “in fact McInnes . . . is not
                                    white supremacist, neo-Nazi,
                                    anti-LGBT, anti-immigrant or
                                    anti-Muslim.” (Compl. ¶ 232)




*
  As noted in the accompanying Memorandum of Law at note 76, this Addendum presents the Articles in the order that they appear in the Complaint, along with the corresponding
letter identifier found in the Complaint.
1
    See Holliday Decl., Ex. 5.
                                                                                                                                                                            1
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                                                      CHALLENGED STATEMENTS IN ARTICLE (b)
                                   (Rachel Janik, Kessler Falls Flat in D.C., But the Radical Right Marches On, Aug. 17, 20182)
                                                                    COMPLAINT ¶¶ 234–239
       CHALLENGED STATEMENT               ALLEGED FALSITY                   FAILURE TO                                 FURTHER EXPLANATION
             (IN BOLD)                                                     STATE A CLAIM
“The Proud Boys (an SPLC-            “falsely ascribes to           Non-actionable opinion. (See
designated hate group started        [McInnes] characteristics of   SPLC Brief § I.E.1.)
by Vice co-founder, original         SPLC’s false description of
hipster and self-described           the Proud Boys, when in fact   Not “of and concerning”
Islamophobe Gavin McInnes)”          the Proud Boys are not a       McInnes. (See SPLC Brief
(Compl. ¶ 234)                       hate group” (Compl. ¶ 235)     § I.E.3.)

“The Proud Boys (an SPLC-            “falsely ascribes to           Non-actionable opinion. (See   In the context of public debate, the phrase the “same old
designated hate group started by     [McInnes] characteristics of   SPLC Brief § I.E.1.)           reactionary politics and fear” is rhetorical hyperbole. The
Vice co-founder, original            SPLC’s false description of                                   words are “loose, figurative language.” Horsley v. Feldt, 304
hipster and self-described           the Proud Boys, when in fact   Not “of and concerning”        F.3d 1125, 1132–33 (11th Cir. 2002) (internal quotation
Islamophobe Gavin McInnes)           the Proud Boys do not          McInnes. (See SPLC Brief       marks omitted).
and Joey Gibson’s Patriot            recruit converts to their      § I.E.3.)
Prayer, have found great success     cause in the Pacific                                          The phrase the “same old reactionary politics and fear” is a
recruiting converts to their         Northwest with an                                             subjective assessment and not readily capable of being proven
cause in the Pacific Northwest       approach that focuses on                                      true or false. See, e.g., Michel v. NYP Holdings, Inc., 816 F.3d
with an approach that focuses        the same old reactionary                                      686, 697 (11th Cir. 2016).
on the same old reactionary          politics and fear” (Compl. ¶
politics and fear, just with         236)
fewer vulgar racist overtures
and more Americana.” (Compl.
¶ 234)

“And another thing: they offer       “falsely ascribes to           Non-actionable opinion. (See
their right-wing converts a          [McInnes] characteristics of   SPLC Brief § I.E.1.).
chance to duke it out in the         SPLC’s false description of
street with people they disagree     the Proud Boys, when in fact   Not “of and concerning”
with.” (Compl. ¶ 234)                the Proud Boys do not          McInnes. (See SPLC Brief
                                     make ‘right-wing               § I.E.3.)
                                     converts’” (Compl. ¶ 237)

2
    See Holliday Decl., Ex. 8.
                                                                                                                                                                      2
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                                                    CHALLENGED STATEMENTS IN ARTICLE (b)
                                 (Rachel Janik, Kessler Falls Flat in D.C., But the Radical Right Marches On, Aug. 17, 20182)
                                                                  COMPLAINT ¶¶ 234–239
   CHALLENGED STATEMENT                 ALLEGED FALSITY                    FAILURE TO                                   FURTHER EXPLANATION
         (IN BOLD)                                                        STATE A CLAIM
                                                                   Not defamatory. (See SPLC
                                                                   Brief § I.E.4.)

“And another thing: they offer     “falsely ascribes to            Non-actionable opinion. (See      The “chance to duke it out” is rhetorical hyperbole. The
their right-wing converts a        [McInnes] characteristics of    SPLC Brief § I.E.1.)              words are “loose, figurative language.” Horsley, 304 F.3d at
chance to duke it out in the       SPLC’s false description of                                       1132–33 (internal quotation marks omitted).
street with people they            the Proud Boys, when in fact    Not “of and concerning”
disagree with.” (Compl. ¶ 234)     the Proud Boys do not offer     McInnes. (See SPLC Brief          The opinion references both Patriot Prayer and Proud Boys
                                   anyone ‘a chance to duke it     § I.E.3.)                         and is supported by facts disclosed in Article (b), including:
                                   out in the street with people                                     “violence, especially violence caught on camera, was
                                   they disagree with’”                                              rewarded. In March 2017, [Proud Boy Member] Kyle
                                   (Compl. ¶ 238)                                                    Chapman became a star for beating a man over the head with
                                                                                                     a stick – the movement dubbed him ‘Based Stickman.’”
                                                                                                     Holliday Decl., Ex. 8 at 3.

“Islamophobe Gavin                 “false and defamatory toward    Non-actionable opinion. (See      SPLC disclosed in the article the fact on which the statement
McInnes” (Compl. ¶ 234)            Mr. McInnes because he is       SPLC Brief § I.E.1.)              is based, i.e., that McInnes described himself as an
                                   not an ‘Islamophobe’ as the                                       Islamaphobe. See SPLC Brief n.9 & accompanying text.
                                   word is used and                Alternatively, substantially
                                   understood on the website”      true. (See SPLC Brief § I.E.2.)
                                   (Compl. ¶ 239)




                                                                                                                                                                      3
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                                                            CHALLENGED STATEMENTS IN ARTICLE (c)
                                 (Bill Morlin, Extremists’ ‘Unite the Right’ Rally: A Possible Historic Alt-Right Showcase?, Aug. 7, 20173)
                                                                         COMPLAINT ¶¶ 240–244
       CHALLENGED STATEMENT                    ALLEGED FALSITY                   FAILURE TO                                 FURTHER EXPLANATION
             (IN BOLD)                                                          STATE A CLAIM
“The Trump-inspired ‘Proud               “falsely ascribes to            Non-actionable opinion. (See
Boys,’ called the ‘Alt-Light’ by         [McInnes] characteristics of    SPLC Brief § I.E.1.)
some and always seeming to be            SPLC’s false description of
looking for a rumble, may or             the Proud Boys, which is not    Not “of and concerning”
may not show up in sizeable              ‘always looking for a           McInnes. (See SPLC Brief
numbers, although the group’s            rumble’” (Compl. ¶ 241)         § I.E.3.)
founder, Gavin McInnes, says
he fullheartedly supports the
rally.” (Compl. ¶ 240)
“The Trump-inspired ‘Proud               “false … toward Mr.             Non-actionable opinion. (See   SPLC disclosed the facts on which the opinion was based.
Boys,’ called the ‘Alt-Light’ by         McInnes because Mr.             SPLC Brief § I.E.1.)           These facts were drawn from the Proud Boys’ own website
some and always seeming to be            McInnes did not ‘full-                                         and available to the reader through a link within Article (c) at
looking for a rumble, may or             heartedly support the rally,’                                  the word “supports” in the challenged statement. The link
may not show up in sizeable              but instead stated that he                                     currently connects the reader to McInnes’s disavowal of the
numbers, although the group’s            supported anyone’s right to                                    event cited in the Complaint at ¶¶. 243-244.
founder, Gavin McInnes, says             attend the rally.” (Compl. ¶
he fullheartedly supports the            242)                                                           However, when SPLC’s article was posted on August 7, 2017,
rally.” (Compl. ¶ 240)                                                                                  the link led to very different content. See Holliday Decl. ¶ 17
                                         “the extent of the falsity of                                  & Ex. 13; see also SPLC Brief note 51. The linked statement
                                         the August 7, 2017 article …                                   was titled “Official Statement Unite the Right Rally” and
                                         is demonstrated by a                                           included the following language:
                                         statement by [McInnes]
                                         dated June 21, 2017 found on                                   “The general consensus among the group is while we
                                         the Proud Boys website                                         enthusiastically support EVERYONE’S right to free
                                         saying that he had ‘been                                       speech/peaceably assemble, that doesn’t mean we have to
                                         asked a lot about this ‘unite                                  attend every single event.” (emphasis in the original)
                                         the right’ thing going on in
                                         august” and that the Proud                                     “The organizers [of the Charlottesville Unite the Right event]
                                         Boys leadership had decided                                    are correct when they say we have to unite against our
                                         to disavow the event. Mr.                                      common enemy, the far left.”

3
    See Holliday Decl., Ex. 2.
                                                                                                                                                                           4
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                                            CHALLENGED STATEMENTS IN ARTICLE (c)
                 (Bill Morlin, Extremists’ ‘Unite the Right’ Rally: A Possible Historic Alt-Right Showcase?, Aug. 7, 20173)
                                                         COMPLAINT ¶¶ 240–244
CHALLENGED STATEMENT           ALLEGED FALSITY                  FAILURE TO                                FURTHER EXPLANATION
      (IN BOLD)                                                STATE A CLAIM
                         McInnes also said, ‘I get that
                         it’s about free speech and we                                 “[I]f a chapter or an individual Proud Boy feels compelled to
                         want everyone – even white                                    go, we encourage him to do so.” (emphasis added)
                         nationalists – to have that
                         right but I think it’s coming                                 “[W]e wish them [the organizers of the Unite the Right event]
                         at a time when we need to                                     nothing but the best.”
                         distance ourselves from
                         them. I’m not punching                                        Because these facts were disclosed through the hyperlink and
                         right. I’m just not coming to                                 form the basis of the opinion reflected in the challenged
                         your rally – no offense.’”                                    statement, McInnes has not stated a claim. See McKee v
                         (Compl. ¶ 243)                                                Cosby, 874 F.3d 54, 64 (1st Cir. 2017) (“[Defendant’s]
                                                                                       ‘subjective characterizations’ of otherwise accurately reported
                         Citing the Proud Boys                                         actions or statements are not capable of being proven true or
                         website for the proposition                                   false.”), cert. denied, 139 S. Ct. 675 (2019).
                         that the Proud Boys are not
                         racists and the Unite the
                         Right Event seemed to be
                         focused on race and that the
                         event’s organizers used
                         images that look like Nazi
                         propaganda (Compl. ¶ 244)




                                                                                                                                                         5
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                                                       CHALLENGED STATEMENTS IN ARTICLE (d)
                                    (Hatewatch Staff, Do You Want Bigots, Gavin? This Is How You Get Bigots, Aug. 10, 20174)
                                                                  COMPLAINT ¶¶ 245–250
       CHALLENGED STATEMENT                ALLEGED FALSITY                  FAILURE TO                                  FURTHER EXPLANATION
             (IN BOLD)                                                     STATE A CLAIM
Article “bears the subtitle,         “falsely ascribes to           Non-actionable opinion. (See    This article is not reasonably capable of conveying the alleged
‘Gavin McInnes, founder of           [McInnes] characteristics of   SPLC Brief § I.E.1.)            defamatory meaning—“falsely ascrib[ing]” to McInnes the
the Proud Boys . . .” (Compl.        SPLC's false description of                                    characteristics of the Proud Boys as a hate group—because
¶ 245)                               the Proud Boys, when in fact   Alternatively, substantially    the article nowhere refers to the Proud Boys as a hate group.
                                     the Proud Boys are not a       true. (See SPLC Brief § I.E.2.) (In fact, the SPLC did not publish the designation until well
                                     hate group” (Compl. ¶ 246)                                     after the article was posted. See Compl. ¶ 153.)
                                                                    Not reasonably capable of
                                                                    conveying the alleged
                                                                    defamatory meaning. (See
                                                                    SPLC Brief § I.E.4.)

“‘McInnes denies any                 “suggests falsely that         Non-actionable opinion. (See    The article does not state or otherwise suggest that Mr.
connection between his group         [McInnes] is an anti-          SPLC Brief § I.E.1.)            McInnes is anti-Semitic or even that all of the Proud Boys’
and the far right, dismissing the    Semite” (Compl. ¶ 247)                                         members are. In fact, the thirty-nine page article reports in
fact that they show up to the                                       Not “of and concerning”         significant and nuanced detail the distinctions between the
same events, take fashion cues                                      McInnes. (See SPLC Brief        Proud Boys and anti-Semitic groups. Moreover, the article
from each other, read the same                                      § I.E.3.)                       explicitly states McInnes maintains that he is not anti-Semitic.
books, [and] sympathize with                                                                        See Holliday Decl., Ex 3 at 4.
each other’s viewpoints
including, at times, anti-                                                                          SPLC cites as support for the challenged statement, among
Semitism” (Compl. ¶ 245)                                                                            other things, a transcribed exchange from an April 28, 2017
                                                                                                    broadcast of the anti-Semitic show, the Daily Shoah: “I sit
                                                                                                    down have beers with the leader of the New York City Proud
                                                                                                    Boys and all we do is talk about the fucking Kikes. For real.”
                                                                                                    Holliday Decl., Ex. 3 at 10.
“states falsely that he                                             Non-actionable opinion. (See    The article provides an example of such a meme: “Denials
‘perpetuates racist memes’”                                         SPLC Brief § I.E.1.)            aside, McInnes has himself, at times, perpetuated racist
(Compl. ¶ 248)                                                                                      memes such as in a tweet from June 26 in which he echoed
                                                                                                    one of the pithy memes of contemporary white supremacists,
                                                                                                    ‘white genocide.’” Holliday Decl., Ex. 3 at 2-3 (reproducing


4
    See Holliday Decl., Ex. 3.
                                                                                                                                                                       6
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                                                       CHALLENGED STATEMENTS IN ARTICLE (d)
                                    (Hatewatch Staff, Do You Want Bigots, Gavin? This Is How You Get Bigots, Aug. 10, 20174)
                                                                  COMPLAINT ¶¶ 245–250
   CHALLENGED STATEMENT                    ALLEGED FALSITY                 FAILURE TO                                 FURTHER EXPLANATION
         (IN BOLD)                                                        STATE A CLAIM
                                                                                                  screenshot of tweet). At the very least, whether the cited
                                                                                                  “meme” is racist or not is a matter of opinion.

“states falsely that he ‘devised’                                  Non-actionable opinion. (See   The actual statement reads: “Despite McInnes’s protestations
what it falsely describes as the                                   SPLC Brief § I.E.1.)           on social media and elsewhere, he’s devised, perhaps
most fertile ‘in-real-life’                                                                       inadvertently, the most fertile ‘in real life’ recruiting ground
recruiting ground for white                                                                       for white nationalists and anti-Semites within today’s
supremacists and anti-Semites                                                                     organized far-right.” Holliday Decl., Ex. 3 at 4. This is an
within today’s organized far-                                                                     opinion which is not provably false.
right” (Compl. ¶ 249)
                                                                                                  In addition, the facts on which this opinion is based are fully
                                                                                                  disclosed in the article, which is thirty-nine pages long and
                                                                                                  recounts case studies involving different persons associated
                                                                                                  with the Proud Boys and follows at least two of them from an
                                                                                                  initial association with the Proud Boys to their thereafter
                                                                                                  becoming involved with overtly white supremacist and/or
                                                                                                  anti-Semitic organizations or their leaders. The case studies,
                                                                                                  in turn, were based on SPLC’s review of internet content.

                                     “attempts to argue, and       Non-actionable opinion. (See   The article, considered as a whole and in context, cannot
                                     leaves readers with the       SPLC Brief § I.E.1.)           reasonably be read to say that Mr. McInnes himself
                                     impression, that numerous                                    “promotes” white supremacist and anti-Semitic views.
                                     affirmative statements by     Not reasonably capable of
                                     Mr. McInnes disavowing,       conveying the alleged          The gist of this article is not that McInnes promotes white
                                     condemning and distancing     defamatory meaning. (See       supremacy or anti-Semitism. Rather, it concludes that “at least
                                     himself from white            SPLC Brief § I.E.4.)           some Proud Boys appear to be following paths into hate
                                     supremacists and anti-                                       groups after a gestation period in McInnes’ group.” Holliday
                                     Semites proves that the                                      Decl., Ex. 3 at 38.
                                     Proud Boys is actually a
                                     white supremacist and anti-                                  At no point in the article is McInnes alleged to have been
                                     Semitic organization and,                                    promoting white supremacist or anti-Semitic views.
                                     hence, that Mr. McInnes


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                                                         CHALLENGED STATEMENTS IN ARTICLE (d)
                                      (Hatewatch Staff, Do You Want Bigots, Gavin? This Is How You Get Bigots, Aug. 10, 20174)
                                                                    COMPLAINT ¶¶ 245–250
       CHALLENGED STATEMENT                    ALLEGED FALSITY                       FAILURE TO                                    FURTHER EXPLANATION
             (IN BOLD)                                                              STATE A CLAIM
                                         himself is or promotes such
                                         views” (Compl. ¶ 250)




                                                           CHALLENGED STATEMENTS IN ARTICLE (e)
                                                 (Bill Morlin, New ‘Fight Club’ Ready for Street Violence, Apr. 25, 20175)
                                                                       COMPLAINT ¶¶ 251–256
       CHALLENGED STATEMENT                    ALLEGED FALSITY                       FAILURE TO                                    FURTHER EXPLANATION
             (IN BOLD)                                                              STATE A CLAIM
“states falsely that the Proud           “falsely ascribes to              Non-actionable opinion. (See        The challenged statement actually reads: “Now described as a
Boys are known as ‘the                   [McInnes] characteristics of      SPLC Brief § I.E.1.)                ‘neo-masculine reactionary,’ McInnes calls his Proud Boys a
military arm of the Alt-                 SPLC’s false description of                                           ‘pro-West fraternal organization. [¶] Others describe it as the
Right’” (Compl. ¶ 252)                   the Proud Boys, which is not      Not “of and concerning”             military arm of the Alt-Right.” Holliday Decl., Ex. 1 at 3.
                                         ‘the military arm of the          McInnes. (See SPLC Brief
                                         Alt-Right’” (Compl. ¶ 253)        § I.E.3.)                           The article fully discloses the facts that support the challenged
                                                                                                               statement: (1) Proud Boys member Kyle Chapman is reported
                                                                           Not reasonably capable of           to have created a militant “‘tactical defense arm’” of the
                                                                           conveying the alleged               Proud Boys, Holliday Decl., Ex. 1 at 2; (2) Chapman had
                                                                           defamatory meaning. (See            been quoted as saying: “‘We don’t fear the fight. We are the
                                                                           SPLC Brief § I.E.4.)                fight,’” id.; (3) The Proud Boy’s initiation ritual included
                                                                                                               “brawling with antifascists at public rallies,” id. at 4; (4)
                                                                                                               Chapman had articulated the purpose of this enterprise as
                                                                                                               designed to “‘defend our right wing brethren,’ id.

                                                                                                               These fully disclosed facts undergird the opinion that the
                                                                                                               Proud Boys could be described as the military arm of the Alt-
                                                                                                               Right.


5
    See Holliday Decl., Ex. 1. The Complaint misstates the date of the article as August 17, 2017. See Compl. ¶ 251–56.
                                                                                                                                                                                   8
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                                                     CHALLENGED STATEMENTS IN ARTICLE (e)
                                           (Bill Morlin, New ‘Fight Club’ Ready for Street Violence, Apr. 25, 20175)
                                                                 COMPLAINT ¶¶ 251–256
   CHALLENGED STATEMENT                  ALLEGED FALSITY                   FAILURE TO                                FURTHER EXPLANATION
         (IN BOLD)                                                        STATE A CLAIM
“states falsely … that the Proud    “falsely ascribes to           Non-actionable opinion. (See   The phrase “looking to rumble” is “loose, figurative
Boys ‘shows up at pro-Trump         [McInnes] characteristics of   SPLC Brief § I.E.1.)           language” which amounts to a rhetorical hyperbole. See
rallies looking to rumble with      SPLC’s false description of                                   Horsley v. Feldt, 304 F.3d 1125, 1132–33 (11th Cir. 2002)
counter[sic]-protesters’”           the Proud Boys, which, while   Not “of and concerning”        (internal quotation marks omitted).
(Compl. ¶ 252)                      its members do not fear to     McInnes. (See SPLC Brief
                                    defend themselves, do not      § I.E.3.)
                                    ‘look to rumble’ with
                                    anyone” (Compl. ¶ 254)
“states falsely … that FOAK         “falsely ascribes to him       Non-actionable opinion. (See   To the extent that McInnes claims that the article implies that
should be compared to ‘a neo-       characteristics of SPLC’s      SPLC Brief § I.E.1.)           FOAK is like the DIY Division because FOAK embraces
Nazi ‘fight club’ called the        false description of FOAK,                                    overtly racist themes, the article, read as a whole and in
‘DIY Division’” (Compl. ¶ 252)      which is not in any            Not “of and concerning”        context, is not reasonably capable of conveying the alleged
                                    meaningful way comparable      McInnes. (See SPLC Brief       defamatory meaning. The article explicitly states the contrary:
                                    to a neo-Nazi organization”    § I.E.3.)                      “Although there initially aren’t any overt racist themes, the
                                    (Compl. ¶ 255)                                                new group of street fighters sounds quite similar to a neo-Nazi
                                                                   Not reasonably capable of      ‘fight club’ called the ‘DIY Division.’ Members of that white
                                                                   conveying the alleged          supremacist group showed up last month in Huntingdon
                                                                   defamatory meaning. (See       Beach, California, mingling with an estimated 2,000 Trump
                                                                   SPLC Brief § I.E.4.)           supporters.” Holliday Decl., Ex. 1 at 3 (emphasis added).

                                                                                                  The link in the article at the words “DIY Division” leads to
                                                                                                  another SPLC article which reports: “The ‘DIY Division’ bills
                                                                                                  itself as a ‘neo-Nazi fight club,’ whose members apparently
                                                                                                  practice boxing in preparation for public brawls and violence
                                                                                                  which have become common at many pro-Trump rallies
                                                                                                  throughout the country.” Holliday Decl. Ex. 16.

                                                                                                  The article then describes similar characteristics of FOAK: (1)
                                                                                                  “Chapman … says his new militant, highly-masculine group
                                                                                                  will be the ‘tactical defensive arm’ of the Proud Boys, another
                                                                                                  group that shows up at pro-Trump rallies… ‘We don’t fear the
                                                                                                  fight. We are the fight.’” Holliday Decl., Ex. 1 at 2 (citing
                                                                                                  social media post by Chapman); (2) “[FOAK’s] emphasis will
                                                                                                                                                                    9
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                                                   CHALLENGED STATEMENTS IN ARTICLE (e)
                                         (Bill Morlin, New ‘Fight Club’ Ready for Street Violence, Apr. 25, 20175)
                                                               COMPLAINT ¶¶ 251–256
   CHALLENGED STATEMENT                ALLEGED FALSITY                  FAILURE TO                                 FURTHER EXPLANATION
         (IN BOLD)                                                     STATE A CLAIM
                                                                                               be on street activism, preparation, defense and confrontation,’
                                                                                               [Chapman] said. ‘We will protect and defend our right wing
                                                                                               brethren when the police and government fail to do so.’” Id.
                                                                                               at 4. (emphasis supplied). These fully disclosed facts
                                                                                               undergird the challenged statement.
“falsely states that … ‘he                                     Non-actionable opinion. (See    The actual sentence in the article reads, in pertinent part:
denigrated Muslims and called                                  SPLC Brief § I.E.1.)            “McInnes … more recently has been … a contributor for the
Asian Americans                                                                                racist site VDARE where he denigrated Muslims and called
‘slopes’ and ‘riceballs’ on FOX                                Alternatively, substantially    Asian Americans ‘slopes’ and ‘riceballs.’” Holliday Decl.,
News or the VDARE website”                                     true. (See SPLC Brief § I.E.2.) Ex. 1 at 2.
(Compl. ¶ 256)
                                                                                               SPLC’s Proud Boys Page documents, through citations
                                                                                               and/or links to them, multiple statements made by McInnes
                                                                                               that, by any reasonable measure, denigrate Muslims,
                                                                                               including: self-identifying as an “Islamophobe”; calling
                                                                                               Islam a “rape culture”; saying that “Muslims have a problem
                                                                                               with inbreeding” and that a “disproportionate number” of
                                                                                               Muslims are “mentally damaged inbreds”; and saying that
                                                                                               “Muslims are stupid. And the only thing they really respect is
                                                                                               violence and being tough.” See Holliday Decl., Ex. 11.

“falsely states that … ‘he                                     Substantially true. (See SPLC   The actual sentence in the article reads : “McInnes …more
denigrated Muslims and called                                  Brief § I.E.2.)                 recently has been … a contributor for the racist site VDARE
Asian Americans                                                                                where he denigrated Muslims and called Asian Americans
‘slopes’ and ‘riceballs’ on                                                                    ‘slopes’ and ‘riceballs.’” Holliday Decl., Ex. 1 at 2. McInnes
FOX News or the VDARE                                                                          called Asians “slopes” and “riceballs” in an article he wrote in
website” (Compl. ¶ 256)                                                                        Taki’s Magazine. See Holliday Decl. ¶ 30; SPLC Brief n.7.
                                                                                               Thus, the statement is substantially true.




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                                                           CHALLENGED STATEMENTS IN ARTICLE (f)
                                 (Hatewatch Staff, McInnes, Molyneux, and 4Chan: Investigating Pathways to the Alt-Right, Apr. 19, 20186)
                                                                      COMPLAINT ¶¶ 257–262
       CHALLENGED STATEMENT                     ALLEGED FALSITY                   FAILURE TO                                 FURTHER EXPLANATION
             (IN BOLD)                                                           STATE A CLAIM
The challenged portion of the             “[S]PLC’s juxtaposition of      Non-actionable opinion. (See   The article poses the question: “What brings someone into the
article is actually an image,             Mr. McInnes and Taylor …        SPLC Brief § I.E.1.)           alt-right ecosystem?” Holliday Decl., Ex. 4 at 1. It then
which the Complaint describes             is defamatory toward Mr.                                       recounts how individual users of a white nationalist forum
as follows: “a red arrow                  McInnes because Mr.             Not reasonably capable of      describe “their radicalization narratives.” Id. at 1-2. Read in
winding through a black maze              McInnes does not share the      conveying the alleged          context, therefore, the juxtaposition cannot reasonably be read
against a white background—               latter’s extreme racist         defamatory meaning. (See       to suggest that McInnes shares the views of Jared Taylor.
evoking the colors and                    views” (Compl. ¶ 258)           SPLC Brief § I.E.4.)           Rather, it opines only that McInnes serves as something of a
geometry of the Nazi flag—                                                                               pathway that leads to what the article characterizes as more
that starts with Mr. Mclnnes              “Taylor is involved in the                                     extreme organizations and their leaders, including “alt-right
and leads to alt-right radical            extremist ‘White Identity’                                     radical Jared Taylor.” Thus, the article is not reasonably
Jared Taylor” (Compl. ¶ 257)              movement, advocates racial                                     capable of conveying the alleged defamatory meaning that
                                          segregation and derides ‘race                                  McInnes shares Taylor’s “extreme racist views.”
                                          mixing,’ in contradistinction
                                          Mr. McInnes is married to[]                                    In addition, the article discloses the facts on which it bases the
                                          an American Indian, has                                        opinion it does express. Specifically, it reports that, of the 74
                                          ‘mixed-race’ American                                          people who described their path to the alt-right, Gavin
                                          Indian children and has                                        McInnes was mentioned 11 times as “an influence that led
                                          frequently decried racism                                      them to the ‘movement.’” Id. at 6 (chart). The article proceeds
                                          and extremism. Indeed, Mr.                                     to note: “The respondents in these threads show how the
                                          McInnes has debated Taylor                                     current media landscape -- replete with podcasts, YouTube
                                          on these very subjects.”                                       channels and blogs that contain tempered bits of white
                                          (Compl. ¶ 259)                                                 nationalist propaganda under the guise of patriotism, Western
                                                                                                         chauvinism, science or hard truths – can aid that agenda,
                                                                                                         coaxing the ‘normies’ down the path to white nationalism.”
                                                                                                         Moreover, the article explains that: “Of the respondents in the
                                                                                                         sample, roughly 15 percent mentioned McInnes as a step in
                                                                                                         their path to white nationalism or recommended using his
                                                                                                         videos and writing to convert others.” Id. at 8.
                                          “defames Mr. McInnes by         Not reasonably capable of      The article cannot reasonably be read to characterize McInnes
                                          conflating the definition and   conveying the alleged          as a member of the alt-right. Rather, McInnes is specifically
                                          use of the term ‘Alt-Right,’                                   referred to as an “alt-lite” figure and distinguished from

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    See Holliday Decl., Ex. 4.
                                                                                                                                                                         11
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                                          CHALLENGED STATEMENTS IN ARTICLE (f)
                (Hatewatch Staff, McInnes, Molyneux, and 4Chan: Investigating Pathways to the Alt-Right, Apr. 19, 20186)
                                                     COMPLAINT ¶¶ 257–262
CHALLENGED STATEMENT           ALLEGED FALSITY                   FAILURE TO                              FURTHER EXPLANATION
      (IN BOLD)                                                 STATE A CLAIM
                         which metamorphosed from        defamatory meaning. (See    others who are characterized as “alt-right.” See, e.g., Holliday
                         a general description of        SPLC Brief § I.E.4.)        Decl. Ex. 4 at 4 (“Though both the alt-lite and alt-right reject
                         ‘alternative conservatives,’                                ‘establishment’ conservatism, the former claims to adhere to
                         i.e., figures and persons not                               civic nationalism—a poorly defined catch-all term for those
                         included in mainstream                                      who embrace nativism but shy away from more radical racist
                         Republican groupings and                                    rhetoric—while the latter is explicitly white nationalist.”), 7
                         movements, to, by 2018,                                     (referring to “alt-lite personalities like Gavin McInnes”).
                         meaning the phenomenon of
                         the ‘new’ far-right that is
                         obsessed with race,
                         nationalism and anti-
                         Semitism” (Compl. ¶ 260)

                         “By giving readers the
                         impression that the ‘Alt-
                         Right’ label which may have
                         been accurate to describe Mr.
                         McInnes in 2015 could still
                         be used to describe him in
                         2018, SPLC defamed and
                         continues to defame Mr.
                         McInnes.” (Compl. ¶ 261)
                         “ascribes to Mr. McInnes or     Not reasonably capable of   The article does not ascribe to McInnes anyone else’s
                         associates him with the         conveying the alleged       comments or beliefs. No statement from any unidentified
                         comments of unidentified        defamatory meaning. (See    speaker referenced in the article is attributed to or otherwise
                         speakers claiming to be         SPLC Brief § I.E.4.)        associated with McInnes.
                         extremists, white
                         supremacists or similar
                         adherents of far-right
                         philosophies because of Mr.
                         Mclnnes’s work which does
                         not espouse any such
                         philosophy” (Compl. ¶ 262)
                                                                                                                                                       12
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                                                      CHALLENGED STATEMENTS IN ARTICLE (g)
                                    (Ryan Lenz, One Year Later: Leaders from ‘Unite the Right’ Fall From Grace, Aug. 5, 20187)
                                                                   COMPLAINT ¶¶ 263–269
       CHALLENGED STATEMENT                ALLEGED FALSITY                    FAILURE TO                                 FURTHER EXPLANATION
             (IN BOLD)                                                       STATE A CLAIM
“‘the far-right groups Patriot        “falsely ascribes to            Non-actionable opinion. (See
Prayer and the Proud Boys (an         [McInnes] characteristics of    SPLC Brief § I.E.1.)
SPLC-designated hate                  SPLC’s false description of
group)’” (Compl. ¶ 263)               the Proud Boys, which is not    Not “of and concerning”
                                      a far-right group” (Pars. 264   McInnes. (See SPLC Brief
                                      & 266)                          § I.E.3.)

                                      “falsely ascribes to
                                      [McInnes] characteristics of
                                      SPLC’s false description of
                                      the Proud Boys, which is not
                                      a hate group” (Compl. ¶ 265)
“‘Since early last year, the far-     “falsely ascribes to            Non-actionable opinion. (See   The challenged statement constitutes rhetorical hyperbole,
right groups Patriot Prayer and       [McInnes] characteristics of    SPLC Brief § I.E.1.)           “loose, figurative language” that is non-actionable as a matter
the Proud Boys (an SPLC-              SPLC’s false description of                                    of law. Horsley v. Feldt, 304 F.3d 1125, 1132–33 (11th Cir.
designated hate group) have           the Proud Boys, which does      Not “of and concerning”        2002) (internal quotation marks omitted).
held more than a dozen rallies        not take out its aggressions    McInnes. (See SPLC Brief
throughout the Pacific                on political opponents”         § I.E.3.)                      In addition, the article discloses the facts on which it bases its
Northwest under the banner of         (Compl. ¶ 267)                                                 conclusion that the Proud Boys have “developed … [the]
‘freedom.’ These events have                                                                         purpose … [of] taking out their aggression on political
always been about exhibiting                                                                         opponents.” Specifically, the article cites the Proud Boys’
machismo, but—as political                                                                           Facebook page on which the group vets users for approval to
divisions in the country have                                                                        be in private chatrooms. See Holliday Decl., Ex. 7 at 11. It
grown—they’ve developed a                                                                            quotes one Facebook user referencing the Proud Boys’
more targeted purpose: far-right                                                                     Portland Rally and describing his seeing “antifa scum get
activists taking out their                                                                           knocked the fuck out,” as the “highlight of my year,” and
aggression on political                                                                              another user discussing “the dozens of videos of the Portland
opponents. As Proud Boys                                                                             Rally when antifa attached [sic] the March and got
founder Gavin McInnes once                                                                           steamrolled and some of them put in the hospital.” Id.


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    See Holliday Decl., Ex. 7.
                                                                                                                                                                      13
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                                                  CHALLENGED STATEMENTS IN ARTICLE (g)
                                (Ryan Lenz, One Year Later: Leaders from ‘Unite the Right’ Fall From Grace, Aug. 5, 20187)
                                                               COMPLAINT ¶¶ 263–269
   CHALLENGED STATEMENT                  ALLEGED FALSITY                        FAILURE TO                                  FURTHER EXPLANATION
         (IN BOLD)                                                             STATE A CLAIM
put it, ‘Fighting solves
everything.’’” (Compl. ¶ 263)
“‘As Proud Boys founder            “falsely suggests, with the          Non-actionable opinion. (See    Mr. McInnes does not deny that he has said, “Fighting solves
Gavin McInnes once put it,         intention that readers               SPLC Brief § I.E.1.)            everything.” Thus, the statement is true.
‘Fighting solves everything.’’”    understand, that the
(Compl. ¶ 263)                     statement, ‘Fighting solves          Substantially true. (See SPLC   Moreover, the statement, construed in the context of the
                                   everything,’ was suggested           Brief § I.E.2.)                 article in its entirety, does not convey the alleged defamatory
                                   as a literal truth, a tactic or an                                   meaning, i.e., that the quoted statement constitutes an explicit
                                   organizational value by Mr.          Not reasonably capable of       organizational value of the Proud Boys. Article (g) does not
                                   McInnes” (Compl. ¶ 268)              conveying the alleged           report that his statement was an explicitly stated
                                                                        defamatory meaning. (See        organizational value of the Proud Boys. The article plainly
                                   quotation was “wrenched              SPLC Brief § I.E.4.)            uses McInnes’ statement as a rhetorical device.
                                   from the context in which                                            Even if it could reasonably be construed to imply that
                                   Mr. McInnes said the words                                           McInnes’s statement constitutes an organizational value of the
                                   in order to defame him”                                              Proud Boys, it would constitute a non-actionable opinion
                                   (Compl. ¶ 269)                                                       based on disclosed facts. Specifically, the link in the
                                                                                                        challenged statement under McInnes’s name leads to
                                                                                                        examples of him encouraging Proud Boys to take part in
                                                                                                        violence, including McInnes’s “publishing videos on Rebel
                                                                                                        Media such as ‘Fighting ‘Anti-Fascists’ is Fun’” as well as a
                                                                                                        “video of McInnes [that] went viral after he was filmed
                                                                                                        punching and shoving a counter-protestor … in Washington,
                                                                                                        D.C.” See Holliday Decl. ¶ 20 & Ex.16 at 1.




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                                                     CHALLENGED STATEMENTS IN ARTICLE (h)
                                            (Hatewatch Staff, Another Charlottesville? Threats of Violence Loom Over
                                              Upcoming Portland Proud Boys, Patriot Prayer Rally, July 25, 20188)
                                                                  COMPLAINT ¶¶ 270–273
       CHALLENGED STATEMENT                ALLEGED FALSITY                    FAILURE TO                                 FURTHER EXPLANATION
             (IN BOLD)                                                       STATE A CLAIM
“falsely claims in its headline “Notwithstanding the                  Non-actionable opinion. (See    The article’s headline actually reads: “Another
[the Proud Boys] is to be       ‘Update,’ the July 25, 2018           SPLC Brief § I.E.1.)            Charlottesville? Threats of violence loom over upcoming
‘threatening violence’ at an    article by Hatewatch Staff is                                         Portland Proud Boys, Patriot Prayer rally.” Holliday
upcoming Portland ‘Proud        false and defamatory toward           Not “of and concerning”         Decl., Ex. 6. Neither the headline nor the article attribute to
Boys Rally,’ despite the        Mr. McInnes because it                McInnes. (See SPLC Brief        any Proud Boys member or to McInnes any threat of violence
contradictory information in thefalsely ascribes to him               § I.E.3.)                       in connection with the rally at issue. Rather, the article
‘Update’”(Compl. ¶ 272)         characteristics of SPLC’s                                             describes the confluence of factors that led SPLC to opine
                                false description of the Proud        Not reasonably capable of       that, as stated in headline, “[t]hreats of violence loom over
“The article goes on to provide Boys, which the article               conveying the alleged           upcoming rally.” Those factors include previously published
an ‘Update,’ in smaller type    falsely claims in its headline        defamatory meaning. (See        references to bringing weapons to the rally as well as a
below the headline, which       is to be ‘threatening                 SPLC Brief § I.E.4.)            declaration by persons planning to attend that “this is war.”
admits, ‘The status of the      violence’ at an upcoming                                              See Holliday Decl., Ex. 6 at 2 & 10.
August 5 rally in Berkeley is   Portland ‘Proud Boys
uncertain after a rash of       Rally,’ despite the
infighting and an announcement contradictory information in
from Gavin McInnes that the     the ‘Update.’” (Compl. ¶
Proud Boys ‘DISAVOW’ the        272)
event.’” (Compl. ¶ 271)

“‘Since early last year, the far-    “Notwithstanding the             Non-actionable opinion. (See    McInnes’s actual grievance (set out in Compl. ¶ 273) with the
right groups Patriot Prayer and      ‘Update,’ the July 25, 2018      SPLC Brief § I.E.1.)            bolded excerpt from Compl. ¶ 270 (left hand column) appears
the Proud Boys have held more        article by Hatewatch Staff is                                    to be that the “Update” in Article (h) (referenced in Compl. ¶
than a dozen rallies throughout      false and defamatory toward      Substantially true. (See SPLC   271) was not prominent enough. The Complaint does not
the Pacific Northwest under the      Mr. McInnes because it           Brief § I.E.2.)                 assert that the article was incorrect with respect to any
banner of ‘freedom’—and with         falsely ascribes to him                                          specific fact included in it. Thus, McInnes has not stated a
talk of bringing weapons and         characteristics of SPLC’s        Not “of and concerning”         claim for defamation because the report was “substantially
declarations that ‘this is war,’     false description of the Proud   McInnes. (See SPLC Brief        true.”
members are threatening to           Boys, which the article          § I.E.3.)
make next weekend’s march            falsely claimed in its sub-                                      Moreover, while McInnes appears to take the position that the
                                     headline was ‘talking of                                         “Update” in Article (h) was not prominent enough (see

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    See Holliday Decl., Ex. 6.
                                                                                                                                                                    15
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                                                  CHALLENGED STATEMENTS IN ARTICLE (h)
                                         (Hatewatch Staff, Another Charlottesville? Threats of Violence Loom Over
                                           Upcoming Portland Proud Boys, Patriot Prayer Rally, July 25, 20188)
                                                               COMPLAINT ¶¶ 270–273
   CHALLENGED STATEMENT                 ALLEGED FALSITY                   FAILURE TO                              FURTHER EXPLANATION
         (IN BOLD)                                                       STATE A CLAIM
the most combustible yet.’”        bringing weapons’ and          Not reasonably capable of   Compl. ¶ 271), that complaint is ill-founded. McInnes
(Compl. ¶ 270)                     ‘threatening to make next      conveying the alleged       incorrectly characterizes the “Update” provided by the SPLC
                                   weekend’s march the most       defamatory meaning. (See    as being in “smaller type.” (Compl. ¶ 271) The type-face of
“The article goes on to provide    combustible yet’ despite the   SPLC Brief § I.E.4.)        the “Update,” which explains McInnes’s alleged disavowal of
an ‘Update,’ in smaller type       contradictory information                                  the event, appears in the same size as the typeface of the
below the headline, which          in the ‘Update.’” (Compl. ¶                                language he claims is defamatory in the immediately
admits, ‘The status of the         273)                                                       preceding paragraph. Both the allegedly defamatory language
August 5 rally in Berkeley is                                                                 and the Update appear on the first page of the article, and the
uncertain after a rash of                                                                     “Update” takes up more of the page. In addition, because it is
infighting and an announcement                                                                italicized, it is in a more prominent typeface than the
from Gavin McInnes that the                                                                   allegedly defamatory language. The article is, therefore, both
Proud Boys ‘DISAVOW’ the                                                                      substantially true and not reasonably capable of conveying the
event.’” (Compl. ¶ 271)                                                                       alleged defamatory meaning.

                                                                                              Finally, as noted supra, the challenged statement discloses
                                                                                              two very specific reasons for the opinion that Patriot Prayer
                                                                                              and Proud Boys “members are threatening to make next
                                                                                              weekend’s march the most combustible yet.” Holliday Decl.,
                                                                                              Ex. 6 at 1. The statement cannot be read to mean that the
                                                                                              Proud Boys organization was making this explicit threat.
                                                                                              Rather, it is its members’ “talk of bringing weapons and
                                                                                              declarations that ‘this is war,’” that are the bases of SPLC’s
                                                                                              asserted opinion that the march could be the “most
                                                                                              combustible yet.” Id. The article elaborates on these points (as
                                                                                              well as other factors that suggested a potential of violence) by
                                                                                              citing: (i) a Proud Boys member’s Facebook video in which
                                                                                              the individual member ranted about violence and declared,
                                                                                              “This is war,” see id. at 2; and (ii) a poll posted on Patriot
                                                                                              Prayer’s private Facebook page asking whether the group
                                                                                              should be “arm[ed]” and/or “train[ed],” as well as multiple
                                                                                              responses in favor of that proposition, id. at 14. Accordingly,


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                                                      CHALLENGED STATEMENTS IN ARTICLE (h)
                                             (Hatewatch Staff, Another Charlottesville? Threats of Violence Loom Over
                                               Upcoming Portland Proud Boys, Patriot Prayer Rally, July 25, 20188)
                                                                   COMPLAINT ¶¶ 270–273
       CHALLENGED STATEMENT                 ALLEGED FALSITY                    FAILURE TO                                  FURTHER EXPLANATION
             (IN BOLD)                                                        STATE A CLAIM
                                                                                                       the statement constitutes a non-actionable opinion based on
                                                                                                       these disclosed facts.


                                                        CHALLENGED STATEMENTS IN ARTICLE (i)
                                            (Rachel Janik, Far-right Skinheads Join Proud Boys in Assaulting Protestors
                                                in New York City Following Gavin McInnes Event, Oct. 13, 20189)
                                                                    COMPLAINT ¶¶ 274–281
       CHALLENGED STATEMENT                 ALLEGED FALSITY                    FAILURE TO                                  FURTHER EXPLANATION
             (IN BOLD)                                                        STATE A CLAIM
“[The article] bears the subtitle,    fails to “distinguish[]          Non-actionable opinion. (See    The Complaint does not identify anything in the challenged
‘Proud Boys and far-right             between what SPLC claims         SPLC Brief § I.E.1.)            statement that was untrue or even misleading. The statement
skinheads were caught on              to be the Proud Boys and                                         is thus substantially true.
video singling out and                ‘far-right assailants’”          Substantially true. (See SPLC
attacking protesters in New           (Compl. ¶ 274)                   Brief § I.E.2.)                 To the extent that the person identified as a “far-right
York City Friday night’ and                                                                            assailant” was a member of the Proud Boys, and McInnes is
says, in its first paragraph, ‘In                                      Not “of and concerning”         attempting to allege that the individual was not “far-right,”
one video, a far-right assailant                                       McInnes. (See SPLC Brief        SPLC’s opinion that the person as a Proud Boys member was
in a group of at least 15                                              § I.E.3.)                       far-right is a protected opinion.
screams, ‘Faggot!’ as he kicks a
person lying curled up on the
pavement’ ….” (Compl. ¶ 274)

                                      “falsely ascribes to him         Not “of and concerning”         The challenged statement does not say that the Proud Boys
                                      characteristics of SPLC’s        McInnes. (See SPLC Brief        are a far-right group. The pertinent part of the statement at
                                      false description of the Proud   § I.E.3.)                       issue reads “a far-right assailant in a group of at least 15.” The
                                      Boys, when in fact the                                           statement does not say that all fifteen were far-right or that
                                      Proud Boys are not a ‘far-       Not reasonably capable of       they all were assailants. It merely conveys that the total
                                                                       conveying the alleged           number of people in the group was fifteen. Thus, the


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    See Holliday Decl., Ex. 9.
                                                                                                                                                                       17
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                                         CHALLENGED STATEMENTS IN ARTICLE (i)
                             (Rachel Janik, Far-right Skinheads Join Proud Boys in Assaulting Protestors
                                 in New York City Following Gavin McInnes Event, Oct. 13, 20189)
                                                     COMPLAINT ¶¶ 274–281
CHALLENGED STATEMENT         ALLEGED FALSITY                    FAILURE TO                                   FURTHER EXPLANATION
      (IN BOLD)                                                STATE A CLAIM
                        right’ group” (Compl. ¶         defamatory meaning. (See        statement is not reasonably capable of the defamatory
                        275)                            SPLC Brief § I.E.4.)            meaning ascribed to it.

                                                                                        Moreover, even assuming that the statement could reasonably
                                                                                        be read to convey the meaning that the Proud Boys are far-
                                                                                        right, it is a non-actionable expression of opinion.

                        “omitting to report that the    Substantially true. (See SPLC   The article actually reports: “Proud Boys and far-right
                        incident involved an attack     Brief § I.E.2.)                 skinheads were caught on video singling out and attacking
                        on the Proud Boys and                                           protesters in New York City Friday night.” Holliday Decl.,
                        other[s] by antifa militants”   Not “of and concerning”         Ex. 9 at 1. Two videos are hyperlinked in the article. In
                        (Compl. ¶ 276)                  McInnes. (See SPLC Brief        neither video is there footage of protesters attacking the Proud
                                                        § I.E.3.)                       Boys. Thus, the statement was substantially true in its
                                                                                        description of the referenced and linked video footage.

                        “passage cited above            Substantially true. (See SPLC   The challenged statement actually reads: “In one video, a far-
                        referring to ‘a group of at     Brief § I.E.2.)                 right assailant in a group of at least 15 screams, ‘Faggot!’ ….”
                        least 15’ can be seen in                                        Holliday Decl., Ex. 9 at 1. It does not mention McInnes.
                        videotaped footage to           Not “of and concerning”
                        consist of nine people.”        McInnes. (See SPLC Brief        The video, which is linked to the article in two places for
                        (Compl. ¶ 277)                  § I.E.3.)                       anyone to view, shows numerous people at the scene moving
                                                                                        in and out of the screen and, when viewed in its entirety (i.e.,
                                                                                        from its beginning to its end) it depicts at least fifteen people
                                                                                        on the scene. McInnes may be contending that there were
                                                                                        only nine Proud Boys in the group (since nine Proud Boys
                                                                                        were subsequently indicted) but there are more than nine and
                                                                                        actually more than fifteen people shown on the video. The
                                                                                        article never states that fifteen Proud Boys took part in the
                                                                                        attack. Moreover, even if fewer than fifteen people were in
                                                                                        the group, the difference does not alter the gist of the article in
                                                                                        any material way. Accordingly, the statement is substantially
                                                                                        true.

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                                                  CHALLENGED STATEMENTS IN ARTICLE (i)
                                      (Rachel Janik, Far-right Skinheads Join Proud Boys in Assaulting Protestors
                                          in New York City Following Gavin McInnes Event, Oct. 13, 20189)
                                                              COMPLAINT ¶¶ 274–281
   CHALLENGED STATEMENT               ALLEGED FALSITY                   FAILURE TO                                  FURTHER EXPLANATION
         (IN BOLD)                                                     STATE A CLAIM
“that one of the ‘far-right      This was “a highly             Substantially true. (See SPLC   The article does not assert that the Proud Boys made this
assailants’ shouted ‘he was a    inflammatory statement         Brief § I.E.2.)                 comment, much less that McInnes did. Thus, McInnes cannot
fucking foreigner’” (Compl. ¶    reeking of extremism, when                                     show that this specific statement was “of and concerning”
278)                             in fact he said, ‘There were   Not “of and concerning”         him.
                                 four of them,’ referring to    McInnes. (See SPLC Brief
                                 antifa attackers, who were     § I.E.3.)                       The actual statement contained in the article reads: “One yells
                                 upon information and belief                                    a Proud Boys motto, ‘Fuck around, find out!’ and says,
                                 not ‘foreigners.’” (Compl. ¶                                   ‘Dude, I had one of their fucking heads, and I was just
                                 278)                                                           fucking smashing it in the pavement!’ [¶] ‘That son of a
                                                                                                bitch!’ the man says of his beating victim. ‘He was a fucking
                                                                                                foreigner.’” Holliday Decl., Ex. 9 at 1-2.

                                                                                                The quoted statements that precede the only alleged
                                                                                                inaccuracy (“He was a fucking foreigner” versus “There were
                                                                                                four of them.”) so negatively reflect on the speaker, that the
                                                                                                final statement, whether it was said or not, does not affect its
                                                                                                gist or sting. Thus, the statement is, when read in its entirety,
                                                                                                substantially true.

                                                                                                Moreover, at worst, the audio is unclear concerning the words
                                                                                                actually used, and the characterization of it in the challenged
                                                                                                statement is therefore a constitutionally protected “rational
                                                                                                interpretation” of ambiguous source material. See, e.g., Bose
                                                                                                Corp. v. Consumers Union, 466 U.S. 485, 513 (1984).

“falsely claims he ‘brought a    “when in fact Mr. McInnes      Not reasonably capable of       There is nothing defamatory about an assertion that someone
samurai sword to his event’”     owns no such [] weapons        conveying the alleged           took a samurai sword to a speech he was giving. There is no
(Compl. ¶ 279)                   and, consistent with his       defamatory meaning. (See        allegation that McInnes intended to use it for any purpose
                                 persona as a humorist,         SPLC Brief § I.E.4.)            other than as a prop. Thus, this statement is neither
                                 appeared with a toy sword                                      defamatory nor false in any material respect. See Celle v.
                                 made of plastic” (Compl. ¶                                     Filipino Reporter Enters., Inc., 209 F.3d 163, 177 (2d Cir.
                                 279)                                                           2000).

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                                                    CHALLENGED STATEMENTS IN ARTICLE (i)
                                        (Rachel Janik, Far-right Skinheads Join Proud Boys in Assaulting Protestors
                                            in New York City Following Gavin McInnes Event, Oct. 13, 20189)
                                                                COMPLAINT ¶¶ 274–281
   CHALLENGED STATEMENT                 ALLEGED FALSITY                 FAILURE TO                                 FURTHER EXPLANATION
         (IN BOLD)                                                     STATE A CLAIM


                                   “The toy sword was also
                                   broken.” (Compl. ¶ 280)

“falsely claims he attended ‘an                                 Non-actionable opinion. (See   In ¶¶ 150-151, the Complaint itself cites SPLC’s June 10,
anti-Muslim rally’ in 2017,                                     SPLC Brief § I.E.1.)           2017, “Live Blog: ACT for Americas ‘March Against Sharia’
which he did not” (Compl. ¶                                                                    Rallies” article, see Holliday Decl., Ex. 21, which accurately
281)                                                                                           reports that McInnes spoke at one of the referenced anti-
                                                                                               Sharia rallies. Id. at 26. It is SPLC’s opinion that the rally was
                                                                                               an “anti-Muslim” rally for the reasons explained in the article
                                                                                               itself. Whether an event is anti-Muslim or not is a subjective
                                                                                               matter that is not provably false and, thus, the challenged
                                                                                               statement is a protected opinion.




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                                                    CHALLENGED STATEMENTS IN ARTICLE (j)
                                    (Weekend Read: Violence and Hate, That’s the Proud Boys in a Nutshell, Oct. 18, 201810)
                                                                COMPLAINT ¶¶ 282–291
       CHALLENGED STATEMENT              ALLEGED FALSITY                     FAILURE TO                                 FURTHER EXPLANATION
             (IN BOLD)                                                      STATE A CLAIM
“bears the subtitle, ‘Last          “falsely ascribes to            Non-actionable opinion. (See
Friday, members of the hate         [McInnes] characteristics of    SPLC Brief § I.E.1.)
group Proud Boys and at least       SPLC’s false description of
three ultranationalist skinheads    the Proud Boys, when in fact    Not “of and concerning”
attacked protesters outside the     the Proud Boys are not a        McInnes. (See SPLC Brief
Metropolitan Republican Club        hate group” (Compl. ¶ 283)      § I.E.3.)
in New York City’” (Compl. ¶
282)

                                    “repeats many of the same       See discussion of Article (i),
                                    false and defamatory            above.
                                    statements set forth above
                                    concerning the October 13,
                                    2018 article by Rachel Janik
                                    on the SPLC website”
                                    (Compl. ¶ 284)

“falsely claims that the Proud      “falsely ascribes to            Substantially true. (See SPLC    The Complaint’s own description of the event in question
Boys’ ‘members marched in           [McInnes] characteristics of    Brief § I.E.2.)                  illustrates that the challenged statement was in fact true. It
Charlottesville, Virginia           SPLC’s false description of                                      implicitly concedes, as it must, that some Proud Boys
alongside Richard Spencer,          the Proud Boys, when in fact    Not “of and concerning”          members did march in Charlottesville, regardless of whether
the most prominent alt-right        the Proud Boys not only did     McInnes. (See SPLC Brief         (as the Complaint asserts) those members were later expelled
leader’” (Compl. ¶ 285)             not as a group participate in   § I.E.3.)                        from the group. (Compl. ¶ 286)
                                    the Charlottesville march and
                                    are not associated with
                                    Richard Spencer, but in fact
                                    expelled four members for
                                    attending the event after
                                    being forbidden from doing
                                    so by Mr. McInnes and the
                                    Proud Boys leadership at the
                                    time” (Compl. ¶ 286)

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     See Holliday Decl., Ex. 10.
                                                                                                                                                                  21
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                                                       CHALLENGED STATEMENTS IN ARTICLE (j)
                                       (Weekend Read: Violence and Hate, That’s the Proud Boys in a Nutshell, Oct. 18, 201810)
                                                                   COMPLAINT ¶¶ 282–291
   CHALLENGED STATEMENT                     ALLEGED FALSITY                   FAILURE TO                                 FURTHER EXPLANATION
         (IN BOLD)                                                           STATE A CLAIM
“falsely claims that the Proud         “falsely ascribes to           Non-actionable opinion. (See   What constitutes the “radical right” is a matter of opinion and
Boys ‘represent a new face of          [McInnes] characteristics of   SPLC Brief § I.E.1.)           is not provably false. See, e.g., 1 Robert D. Sack, Sack on
the radical right,’ ‘relish street-    SPLC’s false description of                                   Defamation § 2:4.7, at 2-48 & n.196 (5th ed. 2017).
fighting’ and ‘embrace [the]           the Proud Boys, when in fact   Not “of and concerning”
central tenets of ‘white               the Proud Boys are not …       McInnes. (See SPLC Brief       In addition, the article discloses the various bases for SPLC’s
nationalism’” (Compl. ¶ 287)           an ‘element of,’ much less     § I.E.3.)                      stated opinion that the Proud Boys are a “new face of the
(alteration in Compl.)                 ‘a new face of,’ the radical                                  radical right” including, for instance, its member Kyle
                                       right” (Compl. ¶ 288)                                         Chapman’s statement: “The war against whites, and
                                                                                                     Europeans and Western society is very real. … It’s time we
                                                                                                     all started talking about it and stop worrying about political
                                                                                                     correctness and optics.” Holliday Decl., Ex. 10 at 5. The
                                                                                                     article also contains links to other sources that provide
                                                                                                     additional bases for the stated opinion. See, e.g., Holliday
                                                                                                     Decl., ¶ 22 & Ex. 18 (SPLC article accessed by hyperlink
                                                                                                     from words “recruitment efforts on platforms as mainstream
                                                                                                     as Facebook” at page 5 of Exhibit 10).

“falsely claims that the Proud         “falsely ascribes to           Non-actionable opinion. (See   Like other references to the Proud Boys’ members “looking to
Boys ‘represent a new face of          [McInnes] characteristics of   SPLC Brief § I.E.1.)           rumble” and “taking out their aggression on political
the radical right,’ ‘relish street-    SPLC’s false description of                                   opponents,” addressed above, the challenged statement’s
fighting’ and ‘embrace [the]           the Proud Boys, when in fact   Not “of and concerning”        reference to their “relish[ing] street-fighting” is rhetorical
central tenets of ‘white               the Proud Boys do not          McInnes. (See SPLC Brief       hyperbole.
nationalism’” (Compl. ¶ 287)           ‘relish street-fighting’”      § I.E.3.)
(alteration in Compl.)                 (Compl. ¶ 289)                                                The article also discloses the facts on which this opinion is
                                                                                                     based, including a description of and footage recorded at the
                                                                                                     October 2018 incident itself as well as a link to the SPLC
                                                                                                     Proud Boys Page, which provides multiple other examples of
                                                                                                     the Proud Boys’ and McInnes’s fights and rhetoric concerning
                                                                                                     fighting. See Holliday Decl., Ex. 10 at 1-2; see also Holliday
                                                                                                     Decl., Ex. 11 (SPLC Proud Boys Page).




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                                                       CHALLENGED STATEMENTS IN ARTICLE (j)
                                       (Weekend Read: Violence and Hate, That’s the Proud Boys in a Nutshell, Oct. 18, 201810)
                                                                   COMPLAINT ¶¶ 282–291
    CHALLENGED STATEMENT                    ALLEGED FALSITY                   FAILURE TO                                FURTHER EXPLANATION
          (IN BOLD)                                                          STATE A CLAIM
“falsely claims that the Proud         “falsely ascribes to           Non-actionable opinion. (See
Boys ‘represent a new face of          [McInnes] characteristics of   SPLC Brief § I.E.1.)
the radical right,’ ‘relish street-    SPLC’s false description of
fighting’ and ‘embrace [the]           the Proud Boys, when in fact   Not “of and concerning”
central tenets of ‘white               the Proud Boys do not          McInnes. (See SPLC Brief
nationalism’” (Compl. ¶ 287)           embrace the central tenets     § I.E.3.)
(alteration in Compl.)                 of white nationalism”
                                       (Compl. ¶ 290)

“[McInnes is] an ‘extremist’           “falsely describes [McInnes]   Non-actionable opinion. (See   The article discloses the basis for of the challenged
who[] utilizes ‘subterfuge and         as an ‘extremist’ who[]        SPLC Brief § I.E.1.)           statement’s references to “subterfuge and lies” by quoting the
lies’” (Compl. ¶ 291)                  utilizes ‘subterfuge and                                      founder of an anti-racist organization called the One People
                                       lies’” (Compl. ¶ 291)          Not “of and concerning”        Project, Daryle Lamont Jenkins, who said, “Every time their
                                                                      McInnes. (See SPLC Brief       members are seen doing things they’re not supposed to be
                                                                      § I.E.3.)                      doing, like showing up at Unite the Right, they claim that
                                                                                                     person left the Proud Boys.” Holliday Decl., Ex. 10 at 4-5.

                                                                                                     Moreover, the references to “lies and subterfuge” is, in the
                                                                                                     context of the article construed as a whole, rhetorical
                                                                                                     hyperbole. Horsley v. Feldt, 304 F.3d 1125, 1132–33 (11th
                                                                                                     Cir. 2002).

                                                                                                     Finally, whether one is an “extremist” is a subjective opinion
                                                                                                     that is not provably false. See, e.g., Sack on Defamation 2-48
                                                                                                     & n.196.




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